                               CASE 0:07-cv-04929-DSD-JJK Document 101 Filed 10/22/10 Page 1 of 1

                                         IN THE UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF MINNESOTA

                                                         CIVIL JURY TRIAL
Katie J. Felder, as trustee for the next of kin                                        COURT MINUTES
of Dominic Aries Felder                                                        Case Number: 07-4929(DSD/JJK)
                          Plaintiff,
  v.                                                                  Date:                October 21, 2010
                                                                      Court Reporter:      Carla Bebault
Jason King, individually, et al.                                      Time:                9:00 a.m.-12:30 p.m.
                        Defendants.                                                        2:02 p.m.-4:43 p.m.
                                                                      Time in Court:       6 Hours & 11 Minutes

Trial before David S. Doty, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:

   For Plaintiff:                     James Behrenbrinker & Douglas Micko
   For Defendant:                     Timothy Skarda & Sara Lathrop

PROCEEDINGS:

   :       JURY Trial Held.
   9       Plaintiff’s witnesses:
   :       Defendant’s witnesses: Lindsey Thomas, M.D., Officer Jason King and Officer Lawrence Loonsfoot.
   9       Plaintiff rests.    : Defendant rests.
   :       Closing arguments presented and Court’s instructions given to the jury..
   :       Jury received case at 4:43 p.m. and will resume deliberations on 10/25/2010 at 9:00 a.m.

CLERK'S USE ONLY:

   9 Number of trial days with evidence - .
   9 Exhibits returned to counsel or parties.

                                                                                                          s/C.B.
                                                                                                        Calendar Clerk




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